           Case 3:22-cv-03455-JD Document 28 Filed 08/05/22 Page 1 of 3



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14   WELLS FARGO HOME MORTGAGE, INC., and
     WELLS FARGO & COMPANY
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16
                                 UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
19   ELRETHA PERKINS and LARONICA               Case No. 3:22-cv-3455-JD
     JOHNSON, individually and on behalf of all
20   others similarly situated,
                                                NOTICE OF LODGING OF WELLS FARGO
21                  Plaintiffs,                 BANK, N.A. AND WELLS FARGO &
             v.                                 COMPANY’S MOTION TO CONSOLIDATE
22
     WELLS FARGO BANK, N.A. and WELLS
23   FARGO HOME MORTGAGE, INC.,

24                             Defendants.

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             NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
                                     MOTION TO CONSOLIDATE
                                      CASE NO. 3:22-CV-3455-JD
           Case 3:22-cv-03455-JD Document 28 Filed 08/05/22 Page 2 of 3



 1          TO THE HONORABLE JAMES DONATO, UNITED STATED DISTRICT COURT
 2   JUDGE, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on August 5, 2022, Defendants Wells Fargo Bank, N.A. and
 4   Wells Fargo & Co.’s Motion to Consolidate was filed in the case of Williams v. Wells Fargo Bank,
 5   N.A., et al., Northern District of California Case No. 3:22-cv-00990-JD
 6          A true and correct copy of the Motion to Consolidate is hereby lodged with this Court as
 7   Exhibit A to this Notice of Lodging.
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             NOTICE OF LODGING OF WELLS FARGO BANK, N.A. AND WELLS FARGO & COMPANY’S
                                     MOTION TO CONSOLIDATE
                                      CASE NO. 3:22-CV-3455-JD
           Case 3:22-cv-03455-JD Document 28 Filed 08/05/22 Page 3 of 3



 1   Dated: August 5, 2022
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